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                     EXHIBIT J


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IN THIS PACKAGE IS A CD-ROM, WHICH CONTAINS THE W. R. GRACE & CO.
DISCLOSURE STATEMENT FOR THE FIRST AMENDED JOINT PLAN OF
REORGANIZATION.

ALL DOCUMENTS ON THIS CD-ROM ARE PDF FILES AND CAN BE VIEWED BY
USING A MICROSOFT WINDOWS BASED OPERATING SYSTEM OR AN APPLE
MAC BASED OPERATING SYSTEM. TO DOWNLOAD ADOBE ACROBAT READER
TO YOUR PERSONAL COMPUTER FREE OF CHARGE PLEASE CLICK ON THE
APPROPRIATE ICON LABELED “ADOBE ACROBAT” ON THE CD-ROM.

HARD COPIES OF THE ABOVE REFERENCED DOCUMENTS ARE AVAILABLE
UPON REQUEST BY CONTACTING THE VOTING AGENT, BMC GROUP, INC. AT
(888) 909-0100,  OR    MAY BE PRINTED   OR   DOWNLOADED      AT
www.bmcgroup.com/wrgrace.


                        CONTENTS OF THE ENCLOSED CD-ROM

•   Debtors’ Disclosure Statement for the First Amended Joint Plan of Reorganization under
    Chapter 11 of the Bankruptcy Code of W. R. Grace & Co., et al., The Official Committee of
    Asbestos Personal Injury Claimants, the Asbestos PI Future Claimants’ Representative, and
    the Official Committee Of Equity Security Holders Dated February 27, 2009

•   Exhibit 1: First Amended Joint Plan of Reorganization

•   Exhibit 2: Asbestos PI Trust Agreement

•   Exhibit 3: Asbestos PD Trust Agreement

•   Exhibit 4: Asbestos PI Trust Distribution Procedures

•   Exhibit 5: Schedule of Settled Asbestos Insurers Entitled to 524(g) Protection

•   Exhibit 6: Asbestos Insurance Transfer Agreement

•   Exhibit 7: [Intentionally Left Blank]

•   Exhibit 8: Best Interests Analysis

•   Exhibit 9: CDN ZAI Minutes of Settlement

•   Exhibit 10: Cooperation Agreement

•   Exhibit 11: Asbestos PI Deferred Payment Agreement

•   Exhibit 12: Financial Information



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•   Exhibit 13: Fresenius Settlement Agreement

•   Exhibit 14: Fresenius Settlement Order

•   Exhibit 15: W. R. Grace & Co. Guarantee Agreement (PI)

•   Exhibit 16: Non-Debtor Affiliate Schedule

•   Exhibit 17: Plan Registration Rights Agreement

•   Exhibit 18: Rejected Executory Contracts and Unexpired Leases Schedule

•   Exhibit 19: Retained Causes of Action Schedule

•   Exhibit 20: Share Issuance Agreement

•   Exhibit 21: Unresolved Asbestos PD Claims Schedule

•   Exhibit 22: Sealed Air Settlement Agreement

•   Exhibit 23: Sealed Air Settlement Order

•   Exhibit 24: Warrant Agreement

•   Exhibit 25: Case Management Order for Class 7A Asbestos PD Claims

•   Exhibit 26: Asbestos PI/PD Inter-Creditor Agreement

•   Exhibit 27: Deferred Payment Agreement (Class 7A PD)

•   Exhibit 28: Deferred Payment Agreement (Class 7B ZAI)

•   Exhibit 29: W. R. Grace & Co. Guarantee Agreement (Class 7A PD)

•   Exhibit 30: W. R. Grace & Co. Guarantee Agreement (Class 7B ZAI)

•   Exhibit 31: Stock Incentive Plan

•   Exhibit 32: Stock Trading Restrictions Term Sheet

•   Exhibit 33: ZAI Trust Distribution Procedures




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